                     UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                    : No. 1:23-bk-00988-HWV
   UPTOWN PARTNERS, LP d/b/a              :
   Residences at Governor’s Square,       :     Chapter 11
   a/k/a Governor’s Square Apartments     :
                                          :
                               Debtor     :

 ORDER APPROVING APPOINTMENT OF JOEL A. READY, ESQUIRE AND
  CORNERSTONE LAW FIRM AS SPECIAL COUNSEL TO THE DEBTOR
           AND TO ALLOW ADMINISTRATIVE CLAIM

       The Application of Uptown Partners, LP, the above-named Debtor, praying for
approval of its employment of Joel A. Ready, Esquire and Cornerstone Law Firm, as
special counsel to represent it with respect to matters regarding criminal citations in the
Dauphin County Court of Common Pleas, and related matters, and Allowance of
Administrative Claim and it appearing that Joel A. Ready, Esquire and Cornerstone Law
Firm are attorneys qualified to practice in the Dauphin County Court of Common Pleas,
and the Court being satisfied that Joel A. Ready, Esquire and Cornerstone Law Firm
represents no interest adverse to the Debtor, Debtor-in-Possession or to his estate, in the
matters in which it is engaged, and it appears that the employment of Joel A. Ready,
Esquire and Cornerstone Law Firm, as Special Counsel is necessary and would be in the
best interests of the estate, it is hereby

       ORDERED that the employment by the Debtor of Joel A. Ready, Esquire and
Cornerstone Law Firm, as Special Counsel to represent it concerning matters involving
criminal citations in the Dauphin County Court of Common Pleas, and related matters, in
the within proceeding under Chapter 11 of the Bankruptcy Code, is approved, on the
matters set forth in the Application, subject to the provisions of 11 U.S.C. §330 and Rule
2016 of the Rules of Bankruptcy Procedure regarding payments to counsel for services
performed, and any and all fees due and owing to Joel A. Ready, Esquire and
Cornerstone Law Firm, shall not be paid until any underlying fees are approved by the
Court; it is

       FURTHER ORDERED that Joel A. Ready, Esquire and Cornerstone Law Firm
shall be permitted to submit an Application for Allowance of Compensation for
Professional Services and Reimbursement of Expenses for the period of May 3, 2023 to
the date of this Order, for consideration by the Court as an Administrative Claim.




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